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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 PERKINS COIE LLP,

       Plaintiff,
 v.                                                   Civil Action No. 1:25-cv-00716-BAH

 U.S. DEPARTMENT OF JUSTICE, et al.

      Defendants.


               MOTION FOR ADMISSION OF ATTORNEY PRO HAC VICE

       Pursuant to Civil Local Rule 83.2(e), Amici move for admission and appearance of

attorney Donald Falk pro hac vice in the above-captioned action. The motion is supported by the

Declaration of Donald Falk. As set forth in that declaration, he is admitted and active member in

good standing in the following bars: California, the District of Columbia, and numerous federal

district courts and courts of appeal, along with the United States Supreme Court.

       This motion is supported and signed by Sara E. Kropf, an active and sponsoring member

of the Bar of this Court.

Dated: April 4, 2025                 Respectfully submitted,


                                     /s/ Sara E. Kropf
                                     Sara E. Kropf (DC Bar No. 481501)
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 4th day of April 2025, the foregoing motion was served by

electronic filing on all counsel of record through the Court’s ECF system.


                                                    /s/ Sara E. Kropf
                                                    Sara E. Kropf
